Case 2:05-CV-02405-.]DT-de Document 5 Filed 06/06/05 Page 1 of 2 Page|D 1

FH.ED J“' \
IN THE UNITED STATEs DISTRJCT CoUR'r rf “ '''''' D'{*'
FOR THE WESTERN DISTRICT oF TENNESSEE

WESTERN DIvIsIoN 05 "'UH `5 H 3‘ 15
Y§§Y §§.£T;HY:G‘€Y
DIANE FARIA, W.D. OF rst assistants
Appellant,
v. No. 05-2405-B/v

JOANNE B. BARNHART, COMMISSIONER
OF SOCIAL SECURITY,

Appellee.

 

ORDER OF REFERENCE

 

This social security appeal is referred to the United States Magistrate Judge for a report
and recommendation Any exceptions to the magistrate judge’s report shall be made in writing
within ten (10) days after service of the report, setting forth particularly those portions of the
report excepted to and the reasons for the exceptions Y 28 U.S.C. § 636(b)(l).

IT rs so oRDEREl) this L day of June, 2005.

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. DANIEL BREEN \
NIT sTATEs DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 5 in
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Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

